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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                                                       Case No. 1:23-CR-239 (CKK)
       v.

ILYA LICHTENSTEIN, et al.,

               Defendants.



       DECLARATION OF TREVOR B. GOPNIK IN SUPPORT OF NOTICE OF
                           APPEARANCE


To:    The Clerk of Court and all parties of record.

       Pursuant to the Court’s Minute Order, dated February 3, 2025, granting Trevor B.

Gopnik’s Motion for Leave to Appear Pro Hac Vice, ECF No. 212, I, Trevor B. Gopnik, declare

that I am familiar with this Court’s Local Rules.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: February 5, 2025                                Respectfully submitted,

                                                       /s/ Trevor Gopnik
                                                       Trevor Gopnik
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